Case 1:08-cv-02744-JOF Document 71 Filed 08/19/11 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION

CONNORS & CO.,

Plaintiff,

Civil Action No.:

Mi 1:08-cv-2744-JOF
McKINLEY CAPITAL
MANAGEMENT, INC.,

Defendant.

STIPULATION OF VOLUNTARY DISMISSAL
WITH PREJUDICE AND REQUEST TO CLOSE CASE

The parties hereby stipulate and agree to the following:

Plaintiff Connors & Co. (“Connors”), pursuant to Federal Rule of Civil
Procedure 41(a)(1)(A)(ii), hereby dismisses its action, all claims and pending
motions against Defendant McKinley Capital Management, Inc. (“McKinley
Capital’) with prejudice.

McKinley Capital dismisses all pending claims and motions against Connors
with prejudice.

Each party is to bear its own attorneys’ fees and costs.

No other claims or parties remain in this action; accordingly, it is requested

that this matter be closed.

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Signature page to “Stipulation Of Voluntary Dismissal With Prejudice And
Request To Close Case”; In The United States District Court For The
Northern District of Georgia, Atlanta Division; Connors & Co. v. McKinley
Capital Management, Inc.; Civil Action No. 1:08-cv-2744-GET

Respectfully submitted this the / an day of August, 2011.

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
CONNORS & CO.,
Plaintiff,
- CIVIL ACTION NO.
McKINLEY CAPITAL 1:08-cv-2744-JOF
MANAGEMENT, INC.,
Defendant.

I hereby certify that I have this day electronically filed the foregoing
STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE AND
REQUEST TO CLOSE CASE with the Clerk of Court by using the CM/ECF
system which will automatically send email notification of such filing to all

counsel of record who are currently registered in the CM/ECF system.

This the 19th day of August, 2011.

Drhub& bob.

Michael K. Wolensky
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